            Case 01-01139-AMC           Doc 6715-2         Filed 10/25/04   Page 1 of 4




                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE


                                                       x
                                                       )
IN RE:                                                 )        In Proceedings for a
                                                       )        Reorganization under
W.R. Grace & Co., et al.                       ,       )        Chapter 11
                                                       )
               Debtor.                                 )        Case No. 01-1139-JKF
                                                       x

               REVISED ORDER REQUIRING FILING OF STATEMENTS
                      PURSUANT TO FED. R. BANKR. P. 2019


                AND NOW, this ___22nd day of ____October_________, 2004, it is
ORDERED that the Amendatory Order Requiring Filing of Statements Pursuant to
Fed.R.Bankr.P. 2019 entered on August 27, 2004 is hereby amended and replaced in full as
follows:

               Within 60 days from the date of this order, except with respect to a committee
appointed pursuant to §1102 or §1114 of the Bankruptcy Code, any entity or committee
representing more than one creditor or equity security holder and any indenture trustee that has
entered an appearance, filed a claim, cast a ballot or taken any other affirmative action to
participate in the Debtor’s bankruptcy case in any way shall file with the Clerk a statement (a
“2019 Statement”) containing the information described below;

               It is further ORDERED that, except with respect to a committee appointed
pursuant to §1102 or §1114 of the Bankruptcy Code, any entity or committee that represents
more than one creditor or equity security holder and any indenture trustee that enters an
appearance, files a claim, casts a ballot or takes any other affirmative action to participate in the
Debtor’s bankruptcy case in any way for the first time after the date of this Order shall, within 10
days of such action, electronically file with the Clerk a 2019 Statement containing the
information described below;




--
            Case 01-01139-AMC              Doc 6715-2   Filed 10/25/04    Page 2 of 4




               It is further ORDERED that the docket entry of the statement that is filed shall
state that Exhibits (as described below) have not been scanned into the docket but are available
upon motion to and order of the Court. The docket entry shall be in substantially the following
format:

               Verified Statement Pursuant to Fed.R.Bankr.P. 2019 filed by
               ([INSERT FILING ENTITY’S NAME]. Exhibits have not been
               scanned but may be accessed by parties who obtain Court order
               authorizing access.

               It is further ORDERED that exhibits required to be filed and listed below shall
not be electronically filed but shall be submitted to the Clerk on compact disk (“CD”). Two sets
of CDs shall be submitted and shall be identified on their faces as “Set 1” and “Set 2” and shall
note the name, address, and telephone number of the attorney submitting the disks.

               It is further ORDERED that the 2019 Statement shall be a verified statement
identifying the name and address of the entity filing such statement and that includes the
following exhibits:

               1. A blank, but unredacted, exemplar or an actual copy, of each form of
agreement or instrument, if any, whereby such entity is empowered to act on behalf of creditors
or equity security holders in this case;

               2. An Excel spreadsheet in electronic format in substantially the form attached
hereto as Exhibit A containing the following data:

                   a. name of each creditor or equity security holder represented by the entity
filing the 2019 Statement;

                   b. the personal address of each such creditor or equity security holder;

                   c. reserved space for the social security number or other identifier as may be
required by a further order of the Court;

                   d. identification of the form of exemplar referenced in item #1 above executed
by the creditor or equity security holder, and the date such agreement was executed;



                                                 -2-
            Case 01-01139-AMC           Doc 6715-2       Filed 10/25/04    Page 3 of 4




                   e. the amount of the claim of any creditor if liquidated, and for unliquidated
claims, an indication that such claims are unliquidated;

                   f. the date of acquisition of the creditor’s claim unless such claim was
acquired beyond one year prior to the filing of the Debtor’s petition for relief;

                   g. for personal injury claimants, the type of disease giving rise to the claim;
and for all other claimants, the nature of the claim or interest; and

                   h. a recital of the pertinent facts and circumstances in connection with the
employment of the entity or indenture trustee, and, in the case of a committee, the name or
names of the entity or entities at whose instance directly or indirectly the employment was
arranged or the committee was organized or agreed to act;

               3. With reference to the time of the employment of the entity, the organization or
formation of the committee, or the appearance in the case of any indenture trustee, a statement of

                   a. the amounts of claims or interests owned by the entity, the committee
                   members or the indenture trustee;

                   b. the times when acquired;

                   c. the amounts paid therefor, and

                   d. any sales or other disposition thereof;

               It is further ORDERED that upon filing a 2019 Statement with the Clerk, each
entity filing a 2019 Statement shall electronically file the 2019 Statement without exhibits, and
shall provide all exhibits on CD’s only to the Clerk, who shall maintain the exhibits without
putting them into the electronic database;

               It is further ORDERED that each entity filing a 2019 Statement shall serve a
copy of the 2019 Statement that includes all exhibits on CD’s on the Debtor and the United
States Trustee, who shall keep such exhibits confidential and shall not release the exhibits to any
party without further Order of Court;




                                                 -3-
            Case 01-01139-AMC           Doc 6715-2      Filed 10/25/04     Page 4 of 4




               It is further ORDERED that each entity filing a 2019 Statement or a Supplement
thereto shall serve a notice of filing a 2019 Statement or Supplement, as the case may be, on all
parties on the Official Service List;

               It is further ORDERED that filing and updating as necessary a 2019 Statement
that complies with this Order, as it may be amended from time to time, shall be deemed to be
complete compliance with Bankruptcy Rule 2019 for all purposes in this case;

               It is further ORDERED that the Debtor shall maintain copies of the 2019
Statements and shall make them available for inspection and copying as directed by the Court
from time to time;

               It is further ORDERED that entities shall supplement their 2019 Statements, as
necessary, every 90 days, covering any material changes of fact occurring up to 30 days prior to
such supplemental filing of the 2019 Statement;

               It is further ORDERED that any entity that fails to comply with the terms of this
Order may be subject to appropriate sanctions as the Court may determine;

               It is further ORDERED that when this case is closed, the Clerk shall archive the
2019 Statements and Supplements with the case file;

               It is further ORDERED that the Debtor or counsel for the Debtor shall serve a
copy of this Order on the Official Service List; on all entities who have entered, or in the future
enter, an appearance or have requested, or in the future request, notices in the case; the United
States Trustee; and on persons or entities or any supplemental service lists used to notify
attorneys for claimants with asbestos, silica and/or mixed dust personal injuries or property
damage claims, and file a certificate of service with the Clerk of the Bankruptcy Court within ten
(10) days hereof.

                                                      ____________________________________
                                                      Judith K. Fitzgerald
                                                      U.S. Bankruptcy Judge




                                                -4-
